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                     IN THE UNITED STATES DISTRICT COURT FOR TI{E

                              EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division


UNITED STATES OF AMEzuCA                                 )
                                                         )
                                                         )
                                                         )           Case   No. 1:19-mj-_
JENNIFER G. HERNANDEZ,                                   )
                                                         )
               Defendant.                                )



                AFFIDAVIT IN SI,JPPORT O A CRIMINAL COMPLAINT

       I, Officer Mirko O. Pefl4 being duly swor&        state the   following:

        1.     I   entered on duty   with the Security Protective Service ("SPS") of the Central

Intelligence Agency ("CIA") in April 2011.         I   graduated from the Federal Law Enforcement

Training Center ("FLETC") in May 2012. Following my graduation, I received an additional eight

weeks of ClA-specific training prior to being assigned as an officer at various CIA installations.

       2.      This affidavit is submitted in support of a criminal complaint charging JENMFER

G. IIERNANDEZ with criminal hespass at the CIA Headquarters in violation of 32 C.F.R.                $


1903.7, which prohibits entering,      or rernaining on an Agency installation without proper

authorization, as well as reentering or attempting to reenter an Agency installation after being

instructed not to do so by an authorized person.

       3.      The facts and information contained in this affidavit are based upon my personal

knowledge and observations during the course of this investigation, information conveyed to me

by other individuals, including law enforcement officers, and my review ofrecords, documents,

and other physical evidence obtained during the investigation. This afEdavit contains information


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necessary      to suppod probable cause, and it is not.intended to include each and every fact and

matter observed by me or known to the govem:ment.

          4.        On May 3, 2019, at approximately 4:25 p.m.,       I encountered the defendant at the

Visitor Control Center at CIA Headquarters in Mclean, Virginia" within the Eastem District of

Virginia. Upon anival, the defendant provided her Iowa identifisation card, requested to recover

her North Carolina identification card, and requested     "to speak to Agent Penis." Affer     a   review   of

records,   I   determined that CIA police ofEcers had encountered the defendant on several rccent

occasions, and had cited her for trespassing on the prior evening. I also learned that in the course

of that May 2, 2019 encounter, CIA police had unintentionally retained the defendant's North

Carolina identification card, and that the card was in storage elsewhere at CIA Headquarters.

Another police officer then retrieved the defendant's North Carolina identification card and

provided it to the defendant. Police officers then directed the defendant to leave the premises and

asked how she intended to leave. The defendant stated that she plarured to leave by bus, and

officers remained with her at the bus stop for several minutes until the next bus arrived. When the

bus arrived, the defendant asked the police officers, "do you really think           I'm going to leave?"

Officers then wamed the defendant that ifshe did not depart the premises, she would be arrested.

The defendant then declined to board the bus and stated that    "l   am not   leaving." Officers thereupon

anested the defendant for remaining on an Agency installation affer being ordered to leave.

         5.       OnMay 2, 2019, at approximately 3:10 p.m., the defendant arrived via Uber at the

Visitor Control Center at CIA Headquarters. When approached by CIA police officers, the

defendant stated that she wanted to "speak to her recruiter" and that she knew to come here because

      ,.phone was   off."   Upon a review of records, the officers determined that she had beeu issued
her

a   written warning for trespassing at CIA Headquarters on the day prior, May 1, 2019. Officers



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then interviewed the defendant, determined she had no official business at the CIA, and cited her

for trespassing on an Agency installation without proper authorization. Officers then directed the

defendant to leave the premises, and she departed by Metro Bus.

        6.     On May 1,2019, at 9:30 p.m., a CIA police officer encountered the defendant by

video phone at the entrance to the Visitor Control Center at CIA Headquarters. The defendant was

in the rear seat of a Lyft vehicle, and stated that she was at CIA to meet with her recruiter. Officers

then approached the defendant and requested her identffication. After determining that the

defendant had no official business with the CIA, the Officers issued the defendant a written

waming for tespassing on an Agency installation, directed her not to retum to CIA Headquarters,

and warned her that   if   she did retum, she could be cited or arrested for trespassing.

        7.     On   April 22,2019, at approximately 8:16 p.m.,        a   CIA police officer encountered

the defendant at the main vehicle entrance to CIA Headquarters, adjacent to the Visitor Control

Center. The defendant was on foot, and as she anived, walked past a sign which read in relevant

part:

                                                   "WARNING

                                                  RESTRICTED

                                              U.S. GOVERNMENT

                                                INSTALLATION

                              EMPLOYEES AND OFFICIAL VISITORS ONLY

                                        IT IS I]NLAWT'UL TO ENTER

                                           ORATTEMPT TO ENTER

                                      THIS INSTALLATION MTHOUT

                                        PROPER AUTHORIZATION."



                                                     J
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The defendant explained to the officer that she had applied for employment at the CIA, and that

her recruiter directed her to come to the Agency. After determining that the defendant had no

of,Ecial business with the CIA, the officer informed her that she was trespassing on a CIA

installation and directed her to leave the premises. The defendant acknowledged the officer's

waming and departed on foot at approximately 8:22 p.m.

        8.      Except for the aforementioned trespassing incidents, the CIA has no current or prior

official relationship vrith the defendant.

        9.     Based on the foregoing,       I   submit there is probable cause to believe that on May 3,

2019, within the Eastern District of Virginia, JENNIFER G. HERNANDEZ did remain on an

Agency instailation without proper authorization, after being ordered to leave, in violation of32

c.F.R. $ 1903.7.



                                                                           O. Peffa
                                                           Security P tective Service
                                                           Central Intelligence Agency



Subscribed and sworn to before me
This 4th day of M ay 2019 .




Honorable Michael S. Nachmanoff
United States Magistrate Judge
Alexandria, Virginia




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